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EXHIBIT R

ease 1:09-cv-00597-Li\/iB-TCB Documem 41-19 i=iieci 10/23/09 Page 2 of 3 Pa§esaii visa

Roth, Nlelissa R.

From: Dickinson, Nlicheiie J.

Sent: Thursday, October15, 2009 3.'30 PN|
To: Candess Hunter

Cc: isabel M Humphrey; Roth, Nieiissa R.
Subject: RE: FW: Re: NE| laptop

isabel agreed to exchange the iaptops on the same day we image the tower. We are waiting for you to provide a
date for the exchange and imaging. if Nionday works for youl we will have someone on the ground that day.

From: Candess i-iunter [mailto:candess@hhyiaw.com]
Sent: Thursday, October 15, 2009 2:01 PM

To: Dickinson, Miche|le J.

Subject: RE: FW: Re: NEI |aptop

lVlichei!e, isabel is out of the office todayl but | saw this emai| and must respondl You were informed on
September 10 that NEi was in possession of Joe‘s iaptopl that it had no NEi data on it and that Joe wanted
it back immediaterl The laptop was in this building in AZ, but you and NE| refused to return it and to make
matters worse. NE| removed it from the building and from An`zona (interstate transportation of stolen
goods). Now over a month |ater, you finally send this emaiil acknowledging that everything Joe told you
about the laptop was true. Let me make myself clear, you are holding stolen property The police are
being notined. You can make ali of the excuses that you want to, but continuing to hold someone eise's
property after they have demanded its return is theft i.ook it up.

Regarding NE|'s computerl we have tried to return it to youl but you have not agreed to accept it, We tried
to deliver it to NEi right here in the building (as they are moving out) but they refused it, claiming they had
to talk to "their iawyer" hrst. lW|LL NOT KEEP TH|S COMPUTER iN TH|S OFF|CE FOR ANOTHER
DAY. it's your choice, either NEl accepts it downstairs or l will personally deliver it to the DLA Piper oche
at 1 pin AZ time todayl Your choice lfl don't hear from you in the next two hours, i will make the choice
for you.

Candess J. i-iunterl Esq.

HUNTER, HUiviPi-iRE¥ & YAViTZ, PLC
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intended recipient please contact the sender and delete and destroy all copies Thank you.

--~- Origina| Message ----
From: "Dickinsonl N|iche|ie J."
To:

Sent: 10/14/2009 5;31PlVi
Subject: Re: NE| laptop

10/23/2009

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lsabel,

Our computer consultants have determined that there is no NEl data on the laptop that Joe returned to NEI a year ago.
Accordingly, we are prepared to make arrangements for the exchange of the laptops and imaging of the tower. Please
advise as to when Joe can get the tower out of storage for imaging so that we can set this up.

Micheilc J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltirnore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(4|0) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Original Message -----

From: isabel M Humphrey <isabe|@hhylaw.com>
To: Dickinson, Michelle .l.

Sent: Wed Oct 14 14:49112 2009

Subject: RE: NEI laptop

l\/iichelle1 we are not comfortable continuing to hold onto NE|'s laptop. l repeatedly tried to get instructions from you
to return it, and you would not give me the name of someone at NE] authorized to accept it. You said you would send
a computer consultant last week to pick it up, but we have heard nothing. We just sent a staff member downstairs to
NEI's office to return it, and they refused to accept it. [f you don't make other arrangements by the end of today, we
will put the laptop in a FedEx box and ship it to you.

in the meantimc, Joe has contacted police regarding NE|'s continued refusal to return his laptop.

isabel M. Humphrey, Esq.

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10/23/2009

